                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      WINSTON-SALEM DIVISION




FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF                    Case No. 1:22-cv-00828-TDS-JEP
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,                             PLAINTIFFS’ MOTION TO
                                                COMPEL DISCOVERY OF
              Plaintiffs,                       SYNGENTA DEFENDANTS
       v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,
              Defendants.


      Pursuant to Federal Rule of Civil Procedure 37 and Local Rule 37.1, Plaintiffs

move to compel Syngenta Crop Protection AG, Syngenta Corporation, and Syngenta

Crop Protection, LLC (collectively “Syngenta”) (1) to produce files from Syngenta Crop

Protection AG; (2) to run appropriate search terms to capture documents related to

Syngenta’s “Key AI” loyalty program and its crop protection product business generally;

(3) to make an appropriate production of data related to Syngenta active ingredients

(“AIs”) other than azoxystrobin, mesotrione, and metolachlor; and (4) to search the

custodial files of one additional U.S.-based custodian for responsive documents. The




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grounds for Plaintiffs’ motion are set forth in the contemporaneously filed memorandum

of law in support of this motion. Undersigned counsel includes a certificate of good faith

conference and attempts to resolve this matter, in compliance with Local Rule 37.1(a).




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Dated: June 25, 2024                  Respectfully submitted,

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                         CERTIFICATE OF CONSULTATION

       I hereby certify pursuant to Local Rule 37.1(d) that after personal consultation and

diligent attempts to resolve differences the parties are unable to reach agreement on the

issues subject to this motion. The parties conferred via video conference on May 29, June

11, June 20, and June 24, 2024. Participating attorneys for Plaintiffs have included Philip

Kehl, Allyson Maltas, Joseph Baker, and Michael Turner. Participating attorneys for

Syngenta have included Ben Miller, James McClammy, Patrick Kane, and Daniel

Thompson.

       On May 29, 2024, the parties discussed Syngenta’s objections and responses to the

RFPs, and Plaintiffs sought to clarify those objections. On June 11, 2024, Plaintiffs

offered compromise positions on certain disputed issues. On June 20, 2024, and June 24,

2024, the parties continued to discuss the disputed issues and compromise positions from

each party, and the parties reached agreement on a number of these disputed issues.

       The parties also repeatedly conferred via letter and email in an effort to resolve

these issues.

Dated: June 25, 2024                        /s/ Philip Kehl

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